                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                         MARSHALL DIVISION



ENTROPIC COMMUNICATIONS, LLC,             Civil Action No. 2:22-cv-00125-JRG

     Plaintiff                               JURY TRIAL DEMANDED

        v.

CHARTER COMMUNICATIONS, INC.,

     Defendant.




             DEFENDANT CHARTER COMMUNICATIONS, INC.’S
             UNOPPOSED MOTION TO COMPEL RESPONSES TO
                  INTERROGATORIES 8, 16, 23, AND 29
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       In response to each of these three Interrogatories, Entropic responded that it will produce

responsive non-privileged documents constituting agreements provided to Entropic by MaxLinear

pursuant to Rule 33(d).

       After Charter sent Entropic a discovery deficiency letter on January 5, 2023, Entropic

responded, inter alia, by stating that it would produce non-privileged documents constituting

agreements provided to Entropic by MaxLinear responsive to Interrogatories 8, 16, and 23 “after

satisfying third party notice and confidentiality obligations, which are numerous,” that “Entropic

is working diligently to resolve these issues and produce [sic],” and that “[a]t such time, Entropic

will supplement its interrogatory responses to identify any responsive documents pursuant to

Federal Civil Rule of Procedure 33(d).” The parties discussed these Interrogatories at a meet and

confer on February 10, 2023, and Entropic stated that while it was working to resolve the third

party notice and confidentiality issues, it did not know when or if those issues would be resolved.

Instead, Entropic has urged Charter to obtain the documents sought through these Interrogatories

from third-party MaxLinear, Inc. and/or MaxLinear Communications, LLC.                 Charter has

separately sought the same materials from these entities.

       On June 20, 2023, Charter served its fifth set of Interrogatories (Nos. 27-31) on Entropic.

Interrogatory No. 29 states:

       Identify all documents You received from MaxLinear, apart from the documents
       obtained in response to Charter’s two subpoenas to MaxLinear, that relate to the
       Asserted Patents or DOCSIS capable MaxLinear chips.

       On July 7, 2023, counsel for Entropic emailed counsel for Charter and wrote that

Interrogatory No. 29 “request[s] certain information relating to documents from MaxLinear that

are covered by confidentiality agreements with third parties” and again “[i]nvited Charter to seek




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these documents from MaxLinear and/or to file a motion to compel.” To date, Entropic has not

produced the non-privileged documents constituting agreements provided to Entropic by

MaxLinear it represented it has in its possession that are responsive to these Interrogatories

pursuant to Rule 33(d) nor has it otherwise supplemented its Interrogatory responses. Similarly,

to date, MaxLinear has not produced the requested documents.

III.   LEGAL STANDARD

       The rules of discovery are accorded a broad and liberal application to affect their purpose

of adequately informing litigants in civil trials. Herbert v. Lando, 441 U.S. 153, 176 (1979). “A

district court has broad discretion in all discovery matters . . . .” Beattie v. Madison County Sch.

Dist., 254 F.3d 595, 606 (5th Cir. 2001) (quoting Kelly v. Syria Shell Petroleum Dev. B.V., 213

F.3d 841, 855 (5th Cir. 2000)); see also Alpine View Co. v. Atlas Copco AB, 205 F.3d 208, 220

(5th Cir. 2000). The party requesting discovery may move to compel the disclosure of any

materials requested so long as such discovery is relevant and otherwise discoverable. See Fed. R.

Civ. P. 37; Export Worldwide, Ltd. v. Knight, 241 F.R.D. 259, 263 (W.D. Tex. 2006) (“Federal

Rule of Civil Procedure 37(a)[(3)(B)(iii) and (iv)] empowers the court to compel the production

of documents . . . upon motion by the party seeking discovery.”). The moving party bears the

burden of showing that the materials and information sought are “relevant to any party’s claim or

defense and proportional to the needs of the case.” See Fed. R. Civ. P. 26(b)(1); Export Worldwide,

241 F.R.D. at 263.

       Rule 33(d) provides that:

       If the answer to an interrogatory may be determined by examining, auditing,
       compiling, abstracting, or summarizing a party's business records (including
       electronically stored information), and if the burden of deriving or ascertaining the
       answer will be substantially the same for either party, the responding party may
       answer by:




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               (1) specifying the records that must be reviewed, in sufficient detail to
               enable the interrogating party to locate and identify them as readily as the
               responding party could; and
               (2) giving the interrogating party a reasonable opportunity to examine and
               audit the records and to make copies, compilations, abstracts, or summaries.

       Under Rule 33(d), a party must “specifically identify which documents contain the

requested information in its answer to the interrogatory” and “[i]f the party cannot comply with

these requirements, it must otherwise answer the interrogatory fully and completely.” Sky Techs.,

L.L.C. v. IBM Corp., No. 2:03-cv-0454, 2005 WL 8161371, at *2 (E.D. Tex. Apr. 1, 2005)

(citations and quotation marks omitted).

IV.    ARGUMENT

       There is no dispute that Charter’s Interrogatories 8, 16, 23, and 29 are relevant to the claims

in this case. Interrogatories 8 and 16, recited supra, seek information relevant to Charter’s

assessment of Entropic’s alleged claim of damages and, more specifically, are relevant to Charter’s

ability to compute patent damages under Georgia-Pacific Corporation v. United States Plywood

Corporation. 318 F. Supp. 1116 (S.D.N.Y. 1970) (setting out 15 factors to consider in determining

the amount of a reasonable royalty for patent damages). Interrogatories 23 and 29 seek information

necessary to analyze whether Entropic’s patent claims are essential to the DOCSIS standards,

which has a direct bearing on Entropic’s claim for damages in this case. See Ericsson, Inc. v. D-

Link Sys., Inc., 773 F.3d 1201, 1232–33 (Fed. Cir. 2014) (discussing determining the royalty rate

for standard essential patents).

       Additionally, because Entropic does not oppose this motion, there is no burden for Entropic

to produce information that is already in its possession. Moreover, where, as here, the Protective

Order entered by the Court provides for confidentiality protections of third-party documents, and

therefore, withholding documents based on third-party notice and confidentiality concerns is no

basis for this Court to deny the production of non-privileged documents constituting agreements



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provided to Entropic by MaxLinear that Entropic contends are responsive to the Interrogatories

under Rule 33(d). See Protective Order, Dkt. 36, at 1-2 (“Each Party may designate as confidential

for protection under this Order, in whole or in part, any document, information or material that

constitutes or includes, in whole or in part, confidential or proprietary information or trade secrets

of the Party or a Third Party to whom the Party reasonably believes it owes an obligation of

confidentiality with respect to such document, information or material.”); Infernal Tech., LLC v.

Microsoft Corp., No. 2:18-cv-00144-JRG, 2019 WL 5388442, at *2 (E.D. Tex. May 3, 2019)

(Gilstrap, J.) (granting motion to compel, stating, inter alia, “there is no reason why [] confidential

information cannot be adequately protected via the Protective Order governing this case.”); Archer

& White Sales, Inc. v. Henry Schein, Inc., No. 2:12-cv-572-JRG, 2017 WL 11639087, at *2 (E.D.

Tex. July 26, 2017) (Gilstrap, J.) (“As to concerns regarding confidentiality of such documents,

the Protective Order entered by the Court in this case should provide sufficient protection to

assuage such concerns.”); see also High Point SARL v. Sprint Nextel Corp., No. 09-cv-2269, 2011

WL 3241432, at *2–3 (D. Kan. July 29, 2011) (“[I]t is well settled that confidentiality does not act

as a bar to discovery and is generally not grounds to withhold documents from discovery,” and

“[c]onfidentiality concerns in many cases may be addressed with an appropriate protective

order.”). Accordingly, Entropic should be compelled to produce the non-privileged documents

constituting agreements provided to Entropic by MaxLinear in its possession that are subject to

third party notice and confidentiality provisions that Entropic contends are responsive to Charter’s

Interrogatories 8, 16, 23, and 29 pursuant to Rule 33(d).

V.     CONCLUSION

       Charter respectfully asks this Court to grant Charter’s unopposed motion and issue an order

compelling Entropic to respond to Interrogatories 8, 16, 23, and 29 under Rule 33(d) by producing

all responsive non-privileged documents constituting agreements provided to Entropic by



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MaxLinear in Entropic’s possession within seven (7) days from the date the Court rules on this

Motion.

 Dated: July 11, 2023                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via email and the Court’s ECF system on July 11, 2023.

                                            /s/ Elizabeth Long
                                            Elizabeth Long


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       Pursuant to Local Rule CV-5, the undersigned counsel hereby certifies that authorization

for filing under seal has been previously granted by the Court in the Protective Order (Dkt. 36)

entered in this case on August 10, 2022.

                                            /s/ Elizabeth Long
                                            Elizabeth Long


                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for Defendant has complied with the meet

and confer requirement in Local Rule CV-7(h). Counsel for Plaintiff indicated that it does not

oppose the relief sought in this motion.



                                            /s/ Elizabeth Long
                                            Elizabeth Long




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